                            UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION
-----------------------------------------------------------------
DIRECTV, LLC, a California limited liability
company,
                                    Plaintiff,
                                                                    PLAINTIFF’S ORIGINAL
         v.                                                         COMPLAINT

JUAN A. SANCHEZ and GRETCHEN SANCHEZ,
Individually, and as officers, directors, shareholders              Civil Action No. 3:16-cv-251
and/or principals of TANAKAS GRILL & SUSHI,
INC., d/b/a TANAKA’S GRILL & SUSHI,
and
TANAKAS GRILL & SUSHI,                           INC.,   d/b/a
TANAKA’S GRILL & SUSHI,
                                    Defendants.
---------------------------------------------------------------

         1.       Plaintiff, DIRECTV, LLC sues JUAN A. SANCHEZ and GRETCHEN

SANCHEZ, Individually, and as officers, directors, shareholders and/or principals of TANAKAS

GRILL & SUSHI, INC., d/b/a TANAKA’S GRILL & SUSHI, and TANAKAS GRILL &

SUSHI, INC., d/b/a TANAKA’S GRILL & SUSHI, (referred to Hereinafter as “Defendants”),

and states as follows:



                                             I. JURISDICTION

         2.       This lawsuit is brought pursuant to the Cable Communications Policy Act of

1984, 47 U.S.C. § 521, et seq. (The “Act”), as an action for declaratory and injunctive relief and

damages for the improper receipt, transmission, and exhibition of satellite programming signals

in violation of the Act. This Court has jurisdiction of the subject matter to this action under 28


                                                         -1-



           Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 1 of 11
U.S.C. §1331, pursuant to which the United States District Courts have original jurisdiction of all

civil actions arising under the Constitution, laws or treaties of the United States.

       3.      This Court has personal jurisdiction over the parties in this action. Defendants to

this action had or have an agent or agents who had or have independently transacted business in

the State of North Carolina and certain activities of Defendants giving rise to this action took

place in the State of North Carolina; more particularly, Defendants’ acts of violating federal laws

and the proprietary rights of DIRECTV, LLC, as distributor of the satellite programming

transmission signals, took place within the State of North Carolina.                   Moreover, upon

information and belief, Defendants have their principal place of business within the State of

North Carolina; thus, this Court has personal jurisdiction over Defendants.



                                            II. VENUE

       4.      Venue is proper in this judicial district under 28 U.S.C. §1391(b) as a substantial

part of the events or omissions giving rise to the claim occurred within Mecklenburg County,

which is within the Western District of North Carolina [28 U.S.C. § 113(c)].



                                           III. PARTIES

       5.      Plaintiff, DIRECTV, LLC (referred to hereinafter as “DIRECTV”), is at all times

relevant hereto a limited liability company under the laws of the State of California. DIRECTV

is a major distributor of satellite programming doing business throughout the United States.

Through its operations, DIRECTV provides interstate direct broadcast satellite programming to

subscribers with specialized satellite receiving equipment who pay for programming via a


                                                 -2-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 2 of 11
subscription fee and obtain a programming license from DIRECTV in return for a subscription.

The obvious result of a user subscription is that users can then watch programs on their

televisions and/or listen to certain high quality audio programs communicated electronically by

DIRECTV via satellite (referred to hereinafter as the “Satellite Programming”). DIRECTV

holds proprietary rights to the Satellite Programming it transmits and DIRECTV is the owner of

and/or a lawfully designated distribution agent for such Satellite Programming.

       6.       Upon information and belief, TANAKA’S GRILL & SUSHI is the premises

name located at 5332 Prosperity Church Road, Charlotte, NC 28269 (the “Establishment”).

       7.       Upon information and belief, Defendants, JUAN A. SANCHEZ and

GRETCHEN SANCHEZ, are officers, directors, shareholders, and/or principals of TANAKAS

GRILL & SUSHI, INC., d/b/a TANAKA’S GRILL & SUSHI, for the premises located at 5332

Prosperity Church Road, Charlotte, NC 28269.

       8.     Upon information and belief, Defendant, TANAKAS GRILL & SUSHI, INC. is a

domestic corporation having a principal place of business at 5332 Prosperity Church Road,

Charlotte, NC 28269.

       9.       The Registered Agent for TANAKAS GRILL & SUSHI, INC. is JOHN F.

HANZEL located at 19425-G Liverpool Parkway, Cornelius, NC 28031.

       10.     Upon information and belief, Defendant, TANAKAS GRILL & SUSHI, INC.,

d/b/a TANAKA’S GRILL & SUSHI, is located and doing business at 5332 Prosperity Church

Road, Charlotte, NC 28269, as a commercial establishment.

       11.    Upon information and belief, Defendant, JUAN A. SANCHEZ, resides at 20916

Windshore Avenue, Cornelius, NC 28031.


                                               -3-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 3 of 11
       12.       Upon information and belief, Defendant, GRETCHEN SANCHEZ, resides at

20916 Windshore Avenue, Cornelius, NC 28031.

       13.       Upon information and belief, Defendants, JUAN A. SANCHEZ and GRETCHEN

SANCHEZ, were the individuals with supervisory capacity and control over the activities

occurring within the Establishment known as TANAKA’S GRILL & SUSHI on May 21, 2014.

       14.       Upon information and belief, Defendants, JUAN A. SANCHEZ and GRETCHEN

SANCHEZ, received a financial benefit from the operations of TANAKAS GRILL & SUSHI,

INC., d/b/a TANAKA’S GRILL & SUSHI on May 21, 2014.

       15.       Upon information and belief, Defendants, JUAN A. SANCHEZ and GRETCHEN

SANCHEZ, were the individuals with close control over the internal operating procedures and

employment practices of TANAKAS GRILL & SUSHI, INC., d/b/a TANAKA’S GRILL &

SUSHI on May 21, 2014.



                                                 IV. FACTS

       16.       DIRECTV incorporates and realleges by reference allegations within paragraphs 1

through 15 of this complaint as if fully set forth herein.

       17.       By way of further allegation, DIRECTV alleges that to prevent unauthorized

entities and persons from viewing its Satellite Programming, DIRECTV encrypts the satellite

transmissions.     Upon payment of the appropriate subscription or license fees, DIRECTV

authorizes and enables the subscriber to unscramble and receive the Satellite Programming.

       18.       DIRECTV provides services to homes based on residential rates and to

commercial establishments under commercial rates. Because equipment used with DIRECTV


                                                 -4-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 4 of 11
services can be moved from residential locations to commercial establishments without

DIRECTV’s knowledge, owners of commercial establishments wishing to use DIRECTV’s

programming for their own commercial gain, at the lower residential rates can surreptitiously

gain access to DIRECTV programming without proper authorization by subscribing to

DIRECTV services under a residential account and then installing/moving the equipment to their

businesses and utilizing those services in a commercial environment.

       19.     On or about May 21, 2014, Defendants did not have a valid commercial account

with DIRECTV at the establishment known as TANAKA’S GRILL & SUSHI located at 5332

Prosperity Church Road, Charlotte, NC 28269.

       20.     On or about May 21, 2014, Defendants, without obtaining valid commercial

exhibition rights, willfully received and displayed DIRECTV Satellite Programming to the public

and for commercial benefit or financial gain, at their commercial establishment, TANAKA’S

GRILL & SUSHI, located at 5332 Prosperity Church Road, Charlotte, NC 28269. Such Satellite

Programming was displayed without authorization from DIRECTV to exhibit in that location.

       21.     Defendants, without entitlement, without prior permission or authorization from

DIRECTV, and without having paid DIRECTV for the right to receive, broadcast, use or display

DIRECTV’s Satellite Programming in the commercial establishment known as TANAKA’S

GRILL & SUSHI, located at 5332 Prosperity Church Road, Charlotte, NC 28269, have received,

assisted in receiving, transmitted, assisted in transmitting, divulged, published and displayed the

content and substance of DIRECTV Satellite Programming at such Defendants’ place of

business, TANAKA’S GRILL & SUSHI. Without authorization, Defendants displayed and/or

published such Satellite Programming to their customers and others.          Defendants’ conduct


                                                -5-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 5 of 11
violates several federal statutes, including 18 U.S.C. §§2511 and 2512, and 47 U.S.C. §605, and

laws of the State of North Carolina. Moreover, Defendants’ acts were unauthorized, willful, and

for purposes of direct or indirect commercial advantage or private financial gain.

       22.      DIRECTV has been damaged by Defendants in that (a) DIRECTV has been

denied subscription fees for commercial use of its Satellite Programming; (b) DIRECTV’s sales

revenues have been reduced through Defendants’ unfair competition; and (c) DIRECTV’s

proprietary rights in the Satellite Programming have been impaired. In addition, Defendants

profited and gained commercial advantage from the unauthorized and willful use of DIRECTV’s

Satellite Programming.

       23.      DIRECTV has been required to retain attorneys to prevent Defendants’ wrongful

acts and to prosecute this action. Due to Defendants’ statutory violations, DIRECTV is entitled

to recover the reasonable attorney’s fees and expenses incurred in prosecution of this action

under federal law.



                                  V. CAUSES OF ACTION
             Count 1 - Damages for Violations of Cable Communications Policy Act
                                   [47 U.S.C. §605(e)(3(C)]

       24.      DIRECTV realleges the allegations contained in the foregoing paragraphs of this

Complaint and incorporates such allegations as if fully set forth herein.

       25.      DIRECTV alleges on information and belief, that Defendants effected

unauthorized interception and receipt of Satellite Programming by ordering programming for

residential use and subsequently displaying the programming in a commercial establishment for

commercial gain without authorization, or by such other means which are unknown to DIRECTV


                                                -6-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 6 of 11
and known only to Defendants.

       26.     Each of the Defendants’ acts violates federal law. Defendants, illegally and

without authorization, intercepted, received and exhibited, or otherwise assisted in the

unauthorized interception, reception or exhibition of Satellite Programming transmitted by

DIRECTV. Moreover, Defendants divulged or published the existence, contents, substance,

purport, effect or meaning of such satellite communications. Further, Defendants used such

communications for their own benefit or for the benefit of others who were not entitled to such

communications. Each of these acts is a practice prohibited by 47 U.S.C. §605(a).

       27.     DIRECTV is a person aggrieved by Defendants’ violations of 47 U.S.C. §605 and

is authorized to institute this action against Defendants pursuant to 47 U.S.C. §605(e)(3)(A).

       28.     Defendants’ violations of 47 U.S.C. §605 have injured DIRECTV’s ability to

maximize the revenues which it seeks to derive from the Satellite Programming, as DIRECTV

has been deprived of the benefit of subscribers to the Satellite Programming. As a further result

of such violations, DIRECTV’s goodwill and reputation have been usurped by Defendants while

Defendants gained and will continue to gain unjust profits and undeserved goodwill. DIRECTV

is entitled to costs, reasonable attorney’s fees, actual damages suffered and profits obtained by

Defendants attributable to their illegal conduct.

       29.     Alternatively, DIRECTV is entitled to statutory damages in an amount not less

than $1,000 nor more than $10,000 for each violation of 47 U.S.C. §605(a).

       30.     DIRECTV will further show that Defendants’ conduct in violation of 47 U.S.C.

§605(a) was committed willfully and for purposes of direct or indirect commercial advantage or

private financial gain.


                                                    -7-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 7 of 11
         31.   Due to Defendants’ willful conduct, DIRECTV is entitled to statutory damages in

an amount not less than $10,000 and up to $100,000 for each willful violation of 47 U.S.C.

§605(a).



                     Count 2 - Damages for Violations of 18 U.S.C. §2511

         32.   DIRECTV realleges the allegations contained in the foregoing paragraphs of this

Complaint and incorporates such allegations as if fully set forth herein.

         33.   For a further cause of action, DIRECTV alleges that Defendants intentionally

intercepted, endeavored to intercept, or procured other persons to intercept electronic

communications from DIRECTV. Defendants further disclosed or endeavored to disclose to

others the contents of electronic communications, knowing or having a reason to know that the

information was obtained through the interception of electronic communications in violation of

18 U.S.C. §2511. Defendants further intentionally used or endeavored to use the contents of

electronic communications, knowing or having reason to know that the information was obtained

through the interception of electronic communications in violation of 18 U.S.C. §2511.

         34.   DIRECTV is a person whose electronic communications are being intercepted,

disclosed and/or intentionally used in violation of 18 U.S.C. §2511.

         35.   Due to Defendants’ wrongful conduct, DIRECTV is entitled, under 18 U.S.C.

§2520, to the greater of the sum of (1) actual damages suffered by DIRECTV and the profits

made by the Defendants as a result of their conduct, or (2) statutory damages in an amount the

greater of $10,000 or $100 per day for each day Defendants acted in violation of 18 U.S.C.

§2511.


                                                -8-



           Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 8 of 11
                                   Count 3 - Civil Conversion

       36.     DIRECTV realleges the allegations contained in the foregoing paragraphs of this

Complaint and incorporates such allegations as if fully set forth herein.

       37.     By virtue of the conduct set forth above, Defendants have unlawfully converted

DIRECTV’s property for their own commercial use and benefit.

       38.     Such conversion was done intentionally and wrongfully by Defendants to deprive

DIRECTV of its proprietary interests, and for Defendants’ direct commercial benefit and

advantage.

       39.     Due to Defendants’ wrongful conversion of DIRECTV Satellite Programming,

DIRECTV suffered damages.



                             VI. REQUEST FOR INJUNCTIVE RELIEF

       40.     DIRECTV realleges the allegations contained in the foregoing paragraphs of this

Complaint and incorporates such allegations as if fully set forth herein.

       41.     DIRECTV further alleges that unless restrained by this Court, Defendants will

continue to receive, intercept, transmit, and exhibit its Satellite Programming, illegally and

without authorization, in violation of 47 U.S.C. §605.

       42.     The violations of 47 U.S.C. §605 set forth above have caused and will continue to

cause DIRECTV irreparable harm.

       43.     DIRECTV cannot practicably determine the loss of subscribers and lost revenues

resulting from Defendants’ unlawful conduct. In addition to diminishing DIRECTV’s revenues,

Defendants’ unlawful conduct injures DIRECTV’s reputation and goodwill as well as its ability


                                                -9-



         Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 9 of 11
to attract and finance the future acquisition, production, and distribution of quality programming,

thereby impairing DIRECTV’s ability to enhance its future growth and profitability.

       44.     DIRECTV has no adequate remedy at law to redress the violations set forth above.



                                             VII. PRAYER
       WHEREFORE, Plaintiff, DIRECTV, LLC, prays that this Court enter judgment in its
favor and against Defendants, and:


       a.      Declare that Defendants’ unauthorized interception, reception, and public
               commercial exhibition of DIRECTV’s electronic communications, or its
               assistance in the performance of such unauthorized actions, were in violation of
               18 U.S.C. 2511 and 47 U.S.C. §605, and that such violations were committed
               willfully and for purposes of direct or indirect commercial advantage and private
               financial gain;
       b.      In accordance with 18 U.S.C. §2520(b)(1) and 47 U.S.C. §605(e)(3)(B)(I), enjoin
               Defendants, and Defendant corporation and establishment, their owners, officers,
               agents, servants, employees and attorneys, and all persons in active concert or
               participation with any of them from (i) interfering with DIRECTV’s proprietary
               rights; (ii) intercepting, receiving, divulging, or displaying DIRECTV’s Satellite
               Programming without prior written consent of DIRECTV; and (iii) further
               violations;
       c.      Award DIRECTV statutory damages in the amount of the greater of $10,000 or
               $100 per day for each day Defendants violated 18 U.S.C. §2511 or, alternatively,
               DIRECTV requests judgment for actual damages, plus damages equal to any
               profits attributable to the Defendants’ violations of 18 U.S.C. §2511;
       d.      Award DIRECTV statutory damages in the amount of $10,000 for each violation
               of 47 U.S.C. §605, plus an additional $100,000 for each violation pursuant to 47
               U.S.C. §605(e)(3)(C)(ii); alternatively, DIRECTV requests judgment for actual
               damages, plus damages equal to any profits attributable to the Defendants’
               violations of 47 U.S.C. §605;
       e.      That the Court award punitive damages; and
       f.      That this Court award DIRECTV its costs, including reasonable attorney’s fees,
               prejudgment interest and post-judgment interest, and such other relief to which
               DIRECTV may be entitled.

Dated: May 20, 2016
       Ellenville, New York



                                               -10-



        Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 10 of 11
                            DIRECTV, LLC

                            By: /s/Christopher J. Hufnagel
                            CHRISTOPHER J. HUFNAGEL, ESQ.
                            Pending Pro Hac Vice Admission
                            LONSTEIN LAW OFFICE, P.C.
                            80 North Main Street, P.O. Box 351
                            Ellenville, NY 12428
                            Telephone: (845) 647-8500
                            Facsimile: (845) 647-6277
                            Email: Legal@signallaw.com
                            Our File No. ES14-11NC-02

                            By: /s/Jose A. Coker
                            JOSE A. COKER, ESQ. (Bar No. 28478)
                            The Charleston Group
                            201 Hay Street, Suite 2000
                            P.O. Box 1762
                            Fayetteville, NC 28302-1762
                            Tel. (910) 485-2500
                            Fax (910) 485-2599
                            Email: jcoker@charlestongroup.com




                             -11-



Case 3:16-cv-00251-GCM Document 1 Filed 05/20/16 Page 11 of 11
